Case 3:17-cv-01154-LAB-AGS Document 274-10 Filed 09/04/20 PageID.7610 Page 1 of 6




                           EXHIBIT I

                                   EXHIBIT I
Case 3:17-cv-01154-LAB-AGS Document 274-10 Filed 09/04/20 PageID.7611 Page 2 of 6

                                 Lois Guillory 8/14/2018


     1                IN THE UNITED STATES DISTRICT COURT

     2              FOR THE SOUTHERN DISTRICT OF CALIFORNIA

     3
     4
     5
     6   MICHELLE MORIARTY, an individual
         as Successor in Interest to the
     7   Estate of HERON MORIARTY and as
         GUARDIAN AD LITEM to ALEXANDRIA
     8   MORIARTY, ELIJAH MORIARTY and
         ETERNITY MORIARTY,
     9
                       Plaintiff,
    10
    11                 vs.                                 NO. 3:17-cv-01154-LAB

    12   COUNTY OF SAN DIEGO, DR. ALFRED
         JOSHUA, individually, and DOES
    13   1 through 10, inclusive,

    14
                     Defendants.
    15   ___________________________________

    16
    17                       DEPOSITION OF LOIS GUILLORY

    18                          San Diego, California

    19                             August 14, 2018

    20
    21   Reported by:
         Annette Moore
    22   CSR No. 2648

    23
    24
    25




                      Peterson Reporting Video & Litigation Services               1

                                      EXHIBIT I
Case 3:17-cv-01154-LAB-AGS Document 274-10 Filed 09/04/20 PageID.7612 Page 3 of 6

                                   Lois Guillory 8/14/2018


     1   BY MR. MORRIS:

     2              Q     With whom --

     3              A     I don't remember.         I honestly don't.

     4              Q     Outside of Nishimoto, had you ever heard

     5   of any other allegations related to the changing of

     6   notes after the fact?

     7              A     No.

     8              Q     Safe to say then that this text reference

     9   to somebody getting rid of it and the allegation in

    10   Nishimoto, those are the two things that you can recall

    11   as far as allegations being raised that records had

    12   been changed?

    13                    MR. WELSH:       This is not an allegation that

    14   a record had been changed.

    15   BY MR. MORRIS:

    16              Q     Fair enough.       Those are the only two

    17   references, true?

    18              A     That I can remember.

    19              Q     He writes, Deputy Johnson, "I can't right

    20   now.   I'll talk to Jeanette."            Do you know the Jeanette

    21   he's referring to?

    22              A     Yes.

    23              Q     Who is that?

    24              A     Medical records clerk.

    25              Q     What's her last name?

                        Peterson Reporting Video & Litigation Services        192

                                        EXHIBIT I
Case 3:17-cv-01154-LAB-AGS Document 274-10 Filed 09/04/20 PageID.7613 Page 4 of 6

                                   Lois Guillory 8/14/2018


     1              A     Warner.

     2              Q     Deputy Johnson writes in the second

     3   entries there, "I read the whole history with this guy.

     4   He was supposed to go into a safety cell at CJ.                 But

     5   they were full that Thursday night so he was brought

     6   here to VDF.       And I don't know why he never went into

     7   the safety cell or at least EOH."

     8                    Was this the first -- you weren't on this

     9   text chain, right?

    10              A     I don't believe, no.

    11              Q     When was the first time you remember

    12   learning that Mr. Moriarty was sent up from Central to

    13   be put into a safety cell?

    14              A     Talking with Deputy Johnson.

    15              Q     When?     This happened the evening of May

    16   31st after you went home.

    17              A     I don't recall if it was that night or the

    18   next day that I worked, because he worked a lot of

    19   overtime as well.        I just know we discussed it after.

    20              Q     Did you ever say anything to Sergeant

    21   Weidenthaler about his decision?

    22              A     Like what do you mean?

    23              Q     "Look what happened," anything like

    24   that?

    25              A     No, I haven't spoken to him, except

                        Peterson Reporting Video & Litigation Services         193

                                        EXHIBIT I
Case 3:17-cv-01154-LAB-AGS Document 274-10 Filed 09/04/20 PageID.7614 Page 5 of 6




    1                 I, the undersi gned,     a Certifi ed Shortha nd
    2    Reporte r of the State of Califor nia, do hereby certify :
    3                That the foregoi ng proceed ings were taken
    4    before me at the time and place herein .set forth;              that
    5    any witness es in the foregoi ng proceed ings, prior to
    6    testify ing,   were duly sworn; that a record of the
    7    proceed ings was made by me using machine shortha nd,
    8    which was thereaf ter transcr ibed under my directi on;
    9    that the foregoi ng transcr ipt is a true record of the.
   10    testimo ny given.
   11                Further ,   that if the foregoi ng pertain s to
   12    the origina l transcr ipt of a deposit ion in a federal
   13   case,    before complet ion of the proceed ings,         review of
   14    the. transcr ipt   [ ] was [ ] was not request ed.
   15
   16                I further certify that I am neither
   17   financi ally interes ted in the action nor a relativ e or
   18   employe e of any attorne y or party to this action.
   19           IN WITNESS WHEREOF,     I have this date subscri bed my
   20   name.
   21   Dated: August 21, 2018
   22
   23

   24                                Moore
   25                       CSR No. 2648


                                                                            230

                                   EXHIBIT I
Case 3:17-cv-01154-LAB-AGS Document 274-10 Filed 09/04/20 PageID.7615 Page 6 of 6




                                 Lois Guillory, 8/14/2018

      1               DECLARATION UNDER PENALTY OF PERJURY
      2

      3    Case name: Michelle Moriarty vs. County of San Diego
      4    Date of Deposition: August 14, 1018
      5    Job No.: 231971
      6

      7

      8                       I, Lois Guillory, hereby certify under
      9    penalty of perjury under the laws of the State of
     10    California that the foregoing is true and correct.
     11                  Executed this -S- -day of
     12
           - -- - - - - -- , 2018, at - -- - -- -- - -- -
     13

     14

     15

     16



     17

                                    LOIS GUILLORY
     18

     19

     20

     21

     22

     23

     24

     25




                                                                        229
                      Peterson Reporting Video & Litigation Services



                                      EXHIBIT I
